                              NO. 07-10-00321-CR
                                       
                            IN THE COURT OF APPEALS
                                       
                       FOR THE SEVENTH DISTRICT OF TEXAS
                                       
                                  AT AMARILLO
                                       
                                    PANEL D
                                       
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AUGUST 30, 2010
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                             JOHN SAENZ, APPELLANT
                                       
                                      v.
                                       
                         THE STATE OF TEXAS, APPELLEE 
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                FROM THE 242ND DISTRICT COURT OF CASTRO COUNTY;
                                       
               NO. B3182-0807; HONORABLE EDWARD LEE SELF, JUDGE
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Before QUINN, C.J., and CAMPBELL and PIRTLE, JJ.


                              MEMORANDUM OPINION
                                       
Pending before the Court is appellant's motion to dismiss his appeal.  Appellant and his attorney have both signed the motion.  Tex. R. App. P. 42.2(a).  No decision of this Court having been delivered to date, we grant the motion.  Accordingly, the appeal is dismissed.  No motion for rehearing will be entertained and our mandate will issue forthwith.

								James T. Campbell
									Justice
Do not publish. 
